     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3593 Page 1 of 7


 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11     QUALCOMM INCORPORATED,                             Case No.: 3:17-cv-2402-CAB-MDD
12                                       Plaintiff,
                                                          ORDER ON MOTION TO STAY
13     v.                                                 [Doc. No. 172]
14     APPLE INCORPORATED,
15                                     Defendant.
16
17          Defendant Apple, Inc., has filed a motion to stay litigation while the patents at issue
18    are under petition for Inter Partes Review (“IPR”) by the U.S. Patent Trial and Appeal
19    Board (“PTAB”) of the U.S. Patent and Trademark Office (“PTO”). The Court finds the
20    motion suitable for determination on the papers submitted and without oral argument in
21    accordance with Civil Local Rule 7.1(d)(1). For the reasons set forth below, the motion
22    is granted.
23          I.      Background
24          On November 29, 2017, plaintiff Qualcomm Inc., filed a complaint against Apple,
25    asserting infringement of United States Patents Nos. 7,834,591 (“the ‘591 patent”);
26    8,229,043 (“the ‘043 patent”); 8,447,132 (“the ‘132 patent”); 8,768,865 (“the ‘865
27    patent”); 8,971,861 (“the ‘861 patent”); and 9,024,418 (“the ‘418 patent”). [Doc. No. 1.]
28    Following a joint motion to extend Apple’s time to file a responsive pleading, Apple

                                                      1
                                                                               3:17-cv-2402-CAB-MDD
     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3594 Page 2 of 7


 1    answered on January 22, 2018. [Doc No. 47.] The Court held a case management
 2    conference on February 7, 2018, at which time Apple represented it intended to seek IPR
 3    on all of the asserted patents and indicated an expectation of filing the applications with
 4    the PTAB within the next two months. [Doc No. 60.]
 5           The parties were directed to proceed with the exchange of infringement and
 6    invalidity contentions pursuant to this District’s Local Patent Rules. Dates were set for the
 7    filing of claim construction briefs, and a tutorial and claim construction hearing was
 8    scheduled for September 12 and 13, 2018. On July 31, 2018, however, Apple filed the
 9    instant motion [Doc. No. 172] for a stay based on its filed applications for IPR of all the
10    patents asserted in the litigation.1 Qualcomm filed an opposition to the motion to stay on
11    August 21, 2018. [Doc. No. 178.] Apple filed a reply on August 28, 2018. [Doc. No. 187.]
12           Apple has petitioned for review of all the asserted claims of the six patents at issue
13    in this case with the exception of three asserted claims in the ‘132 patent. The PTAB’s
14    decisions whether to institute will not issue until February 2019 and may not result in
15    institution of IPR as to any of the patents. Nevertheless, the Court finds it a prudent exercise
16    of resources to temporarily stay this matter until the PTAB decides whether to institute
17    IPR.
18           II.     Legal Standard
19           Courts have inherent power to manage their dockets and stay proceedings. The party
20    seeking a stay bears the burden of showing that such a course is appropriate. See Landis
21    v. N. Am. Co., 299 U.S. 248, 255 (1936). A stay pending an administrative proceeding is
22    not automatic; rather, it must be based upon the circumstances of the case before the court.
23    See Comcast Cable Commc’ns Corp. LLC v. Finisar Corp., No. 06-cv-04206-WHA, 2007
24
25
26    1
        Regarding the ‘043 patent, the petition for IPR was filed by Intel Corporation, identifying Apple as
      another real-party-interest to the challenge. Consequently, Apple is subject to estoppel under 35 U.S.C. §
27    315 (e) as to any invalidity challenges raised, or that reasonably could have been raised, in Intel’s IPR.
      The Court therefore does not consider Apple’s representation that it has petitioned for the review of the
28    ‘043 patent as incorrect.

                                                          2
                                                                                          3:17-cv-2402-CAB-MDD
     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3595 Page 3 of 7


 1    WL 1052883, at *1 (N.D. Cal. Apr. 5, 2007) (“From a case management perspective, the
 2    possible benefits must be weighted in each instance against the possible drawbacks.”).
 3          Courts generally consider three factors to determine whether to impose a stay
 4    pending parallel proceedings in the PTAB: (1) whether a stay will simplify the issues in
 5    question and trial of the case; (2) whether discovery is complete and a trial date set; and
 6    (3) whether a stay would unduly prejudice or present a clear tactical disadvantage to the
 7    nonmoving party. TAS Energy, Inc. v. San Diego Gas & Elec. Co., No. 12-cv-2777-GPC-
 8    BGS, 2014 WL 794215, at *3 (S.D. Cal. Feb. 26, 2014) (citing Telemac Corp. v.
 9    Teledigital, Inc., 450 F. Supp. 2d 1107, 1111 (N.D. Cal. 2006)). Judicial consideration is
10    not limited to these factors, but rather can include a review of totality of the circumstances.
11    A court’s consideration of a motion to stay should be guided by “the liberal policy in favor
12    of granting motions to stay proceedings pending the outcome of USPTO reexamination or
13    reissuance proceedings.” ASCII Corp. v. STD Entm’t USA, Inc., 844 F. Supp. 1378, 1381
14    (N.D. Cal. 1994).
15          III.   Discussion
16          A. Simplification of Issues and Trial
17          Apple has petitioned for review of all the asserted claims of the patents at issue, with
18    the previously noted exception of three claims of the ‘132 patent. Decisions whether to
19    institute on each of these petitions will necessarily impact the scope of the issues for
20    litigation and trial. Should the PTAB institute on any one or more of the petitions, those
21    patents and all their asserted claims will be subject to review “in accordance with or in
22    conformance to the petition.” SAS Inst., Inc. v. Iancu, 138 S.Ct. 1348, 1355 (2018)
23    (whether to institute an inter partes review is a binary choice – “either institute review or
24    don’t”). As a result, for any petition on which the PTAB institutes IPR, each of the
25    challenged claims will either (1) be confirmed, estopping Apple from asserting invalidity
26    challenges in this case that it raised or could reasonably have raised in the IPR, or (2) be
27    invalidated, reducing the number of issues before the Court.
28

                                                     3
                                                                                 3:17-cv-2402-CAB-MDD
     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3596 Page 4 of 7


 1           This factor weighs in favor of a limited stay of proceedings until the PTAB issues
 2    its decisions on whether to institute IPR. See e.g., Wi-Lan Inc. v. LG Elecs. Inc., No. 3:17-
 3    cv-00358-BEN-MDD, 2018 WL 2392161, at*2 (S.D. Cal May 22, 2018) (while review is
 4    not guaranteed and, therefore, the benefits of review are only speculative at this juncture,
 5    in light of the Supreme Court’s mandate to review all contested claims upon a grant of IPR
 6    and the complexity of this case the Court finds this factor weighs in favor of a limited stay);
 7    Nichia Corp. v. Vizio, Inc., SA CV 18-00362 AG (KESx), 2018 WL 2448098, at *2-3 (C.D.
 8    Cal. May 21, 2018) (Vizio filed IPR petitions on all the asserted claims, and although the
 9    potential for simplification was speculative at the time, the Court determined the stay
10    would be relatively short and the action could continue with minimal delay if institution
11    was denied); Am. GNC Corp. v. LG Elecs. Inc., No. 3:17-cv-1090-BAS-BLM, 2018 WL
12    1250876, at *3 (S.D. Cal. March 12, 2018) (if the court were to wait for the PTAB to accept
13    the IPR petitions before staying the case, the court risks wasting resources; the limited
14    nature of a stay outweighs the risk of unnecessary expenditure of resources before the
15    determination to institute or not).
16          In this case with six patents and numerous claims at issue, the PTAB’s decisions
17    whether to institute will impact the contours of the case. If the PTAB institutes and cancels
18    all the asserted claims of any patent, it will remove that patent from the case, thereby
19    significantly reducing the scope of this litigation. Alternatively, if the PTAB declines to
20    institute or institutes and confirms any patent, statutory estoppel may simplify the assertion
21    of invalidity defenses. This factor favors a temporary stay.
22          B. Timing
23          Regarding the stage of the proceedings, courts consider timing issues such as
24    whether discovery is complete, the status of claim construction, and whether a trial date
25    has been set. Universal Elecs., Inc. v. Universal Remote Control, Inc., 943 F. Supp. 2d
26    1028, 1030-31 (C.D. Cal. 2013). Since the case management conference in February 2018,
27    the parties have engaged in motion practice regarding the pleadings, exchanged
28    infringement and invalidity contentions, provided discovery responses, and submitted

                                                     4
                                                                                 3:17-cv-2402-CAB-MDD
     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3597 Page 5 of 7


 1    briefing for the claim construction hearing. The Court is cognizant of the resources
 2    expended by the parties to prepare for the scheduled claim construction hearing, but the
 3    hearing has not occurred yet and the Court has not construed the claims. Moreover,
 4    Qualcomm’s submissions to the PTAB in response to Apple’s IPR petitions may inform
 5    the construction of disputed claim terms. See Core Optical Techs, LLC v. Fujitsu Network
 6    Commc’ns, Inc., No. SA CV 16-00437-AG (JPRx), 2016 WL 7507760, at *2 (C.D. Cal.
 7    Sept. 12, 2016) (even if no patent claim is eliminated, the intrinsic record developed during
 8    the IPR may inform on issues like claim construction).
 9          Significant fact and expert discovery and dispositive motion practice are still ahead.
10    A pretrial conference is presently scheduled for June 2019, but no trial date has been set.
11    [Doc. No. 108.] Trial is not imminent and the majority of fact and expert discovery is still
12    to be completed. The stage of the proceedings does not weigh against issuing a temporary
13    stay. See, e.g., TAS Energy, Inc., 2014 WL 794215, at *3 (“While the case is not in its
14    early stages, it is in the midst of discovery and no trial date has been set. Moreover,
15    significant amount of work still remains such as expert discovery, summary judgment
16    motions and trial.”); PersonalWeb Techs, LLC, v. Facebook, Inc., Case Nos. 5:13-CV-
17    01356-EJD; 5:13-CV-01358-EJD; 5:13-CV-01359-EJD, 2014 WL 116340, at *4 (N.D.
18    Cal Jan. 13, 2014) (stating that case was not so far advanced that a stay would be improper
19    where parties had not yet engaged in significant costly work of expert discovery and
20    summary judgment motions, and the pretrial conference was still six months away); Am.
21    GNC Corp., 2018 WL 1250876, at *2 (that the parties have completed certain benchmarks
22    under the Patent Local Rules does not mean the case has progressed so significantly that a
23    stay would be improper).
24          This factor favors a temporary stay.
25          C. Undue Prejudice or Clear Tactical Advantage
26          Despite the fact that the petitions were not filed as expeditiously as anticipated in
27    Apple’s case management statement [Doc. No. 60], based on the number of patents and
28    claims involved, the Court does not conclude that the additional time taken to prepare and

                                                    5
                                                                               3:17-cv-2402-CAB-MDD
     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3598 Page 6 of 7


 1    file the applications was the result of tactical delay. Moreover, a delay inherent in the
 2    reexamination process does not constitute undue prejudice. AT&T Intellectual Prop. I v.
 3    Tivo, Inc., 774 F. Supp. 2d 1049, 1054 (N.D. Cal 2011); Research in Motion Ltd., v. Visto
 4    Corp., 545 F. Supp. 2d 1011, 1012 (N.D. Cal. 2008) (mere delay in the litigation does not
 5    establish undue prejudice). Finally, because Apple and Qualcomm are not direct
 6    competitors, any harm from a stay can be addressed through damages. PersonalWeb
 7    Techs, LLC, 2014 WL 116340, at *5.
 8          The Court notes that with regard to at least the ‘043 patent, Qualcomm contends that
 9    transceiver integrated circuits allegedly covered by the ‘043 patent are provided to Apple
10    by Intel in competition with Qualcomm. It argues that for purposes of evaluating prejudice,
11    Apple and Qualcomm are therefore competing in the same market to some degree. [Doc.
12    No. 178, at 24-25.] The Court is not persuaded that competition between Intel and
13    Qualcomm for Apple as a customer makes Apple and Qualcomm indirect competitors.
14          This fact pattern is similar to the relationship between the patentee and alleged
15    infringer in Nichia Corp. v. Vizio, Inc., SA CV 16-00545 SJO (MRWx), 2017 WL
16    3485767, at *6 (C.D. Cal. Feb. 2, 2017). Nichia was one of the largest LED manufacturers
17    in the world. Vizio sold televisions that contained LEDs alleged to infringe Nichia’s
18    patents, but it did not manufacture the accused LEDs. Therefore, Vizio was a downstream
19    customer of LEDs rather than a direct competitor in the market for LEDs. The court found
20    that there was no risk of Vizio acquiring market share or customers from Nichia during a
21    stay and that monetary damages would adequately compensate Nichia for any
22    infringement. Id. Similarly, the Court finds no risk of Apple acquiring Qualcomm’s
23    market share or customers for transceiver integrated circuits.
24          This factor favors a temporary stay.
25          IV.    Conclusion
26          The Court finds Apple’s motion for stay timely and that staying this case will not
27    cause Qualcomm undue prejudice. Further PTAB’s decisions to institute IPR may simplify
28    the case and may further inform the Court on matters of claim construction. Apple’s

                                                   6
                                                                              3:17-cv-2402-CAB-MDD
     Case 3:17-cv-02402-CAB-MDD Document 188 Filed 08/29/18 PageID.3599 Page 7 of 7


 1    motion for a stay is therefore GRANTED pending the PTAB’s decisions whether to
 2    institute IPR.
 3          As the Court has previously noted, the patents in this case are diverse. They are from
 4    unrelated families and cover divergent technologies. The PTAB may decide to institute
 5    IPR as to all, some, or none of these patents. The litigation is hereby stayed until those
 6    determinations are made. As the patents do not overlap and are independent of each other,
 7    litigation will commence again immediately for any patents on which IPR is not instituted,
 8    and the Court will promptly reschedule the claim construction hearing as to those patents.
 9    The parties shall jointly notify the Court immediately of the PTAB’s decisions whether to
10    institute as to each patent as the decisions are individually received.
11          It is SO ORDERED.
12    Dated: August 29, 2018
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    7
                                                                                3:17-cv-2402-CAB-MDD
